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                                                  NORTHERN DISTRICT OF CALIFORNIA
                   14
                                                           OAKLAND DIVISION
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                        In re Google RTB Consumer Privacy            Master File No. 4:21-cv-02155-YGR-VKD
                   17   Litigation,
                                                                     GOOGLE LLC’S OPPOSITION TO
                   18                                                PLAINTIFFS’ ADMINISTRATIVE MOTION
                                                                     FOR LEAVE TO FILE A RESPONSE TO
                   19   This Document Relates to: all actions        GOOGLE’S OBJECTIONS TO PLAINTIFFS’
                                                                     EVIDENCE IN SUPPORT OF CLASS
                   20                                                CERTIFICATION REPLY BRIEFING

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ATTORNEYS AT LAW                                                              GOOGLE LLC’S OPP. TO ADMIN. MOTION
 SAN FRANCISCO                                                                  FOR LEAVE TO RESPOND TO EVID. OBJ.
                                                                                  CASE NO. 4:21-CV-02155-YGR-VKD
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                    1          Plaintiffs’ motion for leave to respond (the “Motion,” ECF No. 630) to Google’s evidentiary
                    2   objections to Plaintiffs’ evidence is meritless and should be denied. The Motion is a transparent
                    3   attempt to get the last word on a hotly-disputed class certification motion, even after Plaintiffs chose
                    4   to submit new evidence on reply and thus triggered Google’s right to submit evidentiary objections
                    5   under the Northern District’s Civil Local Rules.
                    6          The Local Rules are clear: as Plaintiffs acknowledge, they permit “no automatic right to
                    7   reply” when a non-movant objects to a movant’s new evidence on reply. Mot. at 2; see also Civ.
                    8   L.R. 7-3(d)(1). By filing new evidence in support of their reply brief, Plaintiffs opened the door to
                    9   objections from Google. Dutta v. State Farm Mut. Auto. Ins. Co., 895 F.3d 1166, 1171 (9th Cir.
                   10   2018) (“Where the opposing party believes he has been unfairly disadvantaged by a new factual
                   11   matter included in a reply affidavit or declaration, the [Northern District’s] practice rules provide a
                   12   mechanism to seek relief.”). They cannot now fault Google for exercising that right. Were it
                   13   otherwise, any movant that disagreed with the non-movant’s objections to its reply evidence (as
                   14   most movants presumably do) could seek and secure leave for further briefing as a matter of course.
                   15   The Local Rules preclude that result, providing that “[o]nce a reply is filed, no additional
                   16   memoranda, papers or letters may be filed without prior Court approval.” Id. (emphasis added); see
                   17   also Rojas v. Bosch Solar Energy Corp., 2021 U.S. Dist. LEXIS 226338, at *2 (N.D. Cal. Nov. 23,
                   18   2021) (noting that “[t]his district’s Civil Local Rules do not contemplate a response to an objection
                   19   to reply evidence” and denying leave to file one.).
                   20          Plaintiffs’ insinuation that Google is attempting to sandbag them and “rehabilitate [its]
                   21   witnesses with the late submission of their testimony” is disingenuous. Google submitted excerpts
                   22   from depositions of two Google employees that occurred after Google filed its opposition to
                   23   Plaintiffs’ class certification motion in September 2023. See ECF Nos. 628-3 (Nov. 15, 2023), 628-
                   24   4 (Oct. 30, 2023). Google could not have filed these excerpts previously, and it submits them only
                   25   for completeness in response to Plaintiffs’ selective citations in their reply brief. Plaintiffs may be
                   26   displeased that Federal Rule of Evidence 106 provides a substantive basis for Google to ask the
                   27   Court to consider this testimony and that Local Rule 7-3(d) affords Google a procedural vehicle to
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ATTORNEYS AT LAW                                                                         GOOGLE LLC’S OPP. TO ADMIN. MOTION
 SAN FRANCISCO                                                             1               FOR LEAVE TO RESPOND TO EVID. OBJ.
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                    1   do so, but that does not give them license for a further reply.1
                    2               The Court has everything it needs to rule on Google’s evidentiary objections without further
                    3   briefing from Plaintiffs, who already characterize their evidence at length in their own class
                    4   certification reply brief. Plaintiffs’ Motion should be denied.
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                    7   Dated: December 18, 2023                                 COOLEY LLP
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                    9                                                            By: /s/ Aarti Reddy
                                                                                     Aarti Reddy
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                          Contrary to their representations, Plaintiffs made no meaningful attempt to meet and confer with
                   25   Google before filing their Motion. On December 11, 2023, in response to Google’s request that
                        Plaintiffs offer time the following day to meet and confer, Plaintiffs responded that “[P]laintiffs are
                   26   filing shortly” and that “[i]f Google wants to meet and confer, its counsel can pick up the phone
                        and call me, now,” without regard to Google’s counsel’s availability. Reddy Decl. ¶ 2. Plaintiffs
                   27   did not in fact file that day, but then emailed Google the next morning to say they were filing within
                        90 minutes and “remain[ed] available to discuss before then.” Id. ¶ 3. Refusing to set a time to meet
                   28   and demanding that counsel confer with minimal notice is hardly a good-faith effort to resolve the
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                        parties’ differences.
ATTORNEYS AT LAW                                                                            GOOGLE LLC’S OPP. TO ADMIN. MOTION
 SAN FRANCISCO                                                               2                FOR LEAVE TO RESPOND TO EVID. OBJ.
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